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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



UNITED STATES OF AMERICA                         CR 05-60008-02-HO

              v.

PIROUZ SEDAGHATY,                                EXHIBIT C TO DECLARATION OF
                                                 CHRISTOPHER L. CARDANI
                      Defendant.
                                                 PART 4:
In re AL RAJHI BANK SUBPOENA                     (1)  EXHIBITS E-H TO COLEMAN
                                                      DECLARATION
AL RAJHI BANKING &                               (2)  CERTIFICATE OF SERVICE
INVESTMENT CORP,
Real party in interest

                      Respondent.
  Case 6:05-cr-60008-AA    Document 255-7   Filed 02/01/10   Page 2 of 29




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                     Petitioner,                )
                                                )
                     v.                         )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
in his official capacity as Secretary of the    )
Treasury,                                       ) EXHIBIT E TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) TIMOTHY J. COLEMAN
Washington, DC 20220                            )
                                                )
KENT S. ROBINSON,                               )
in his official capacity as Acting United       )
States Attorney for the District of Oregon, )
1000 SW Third Avenue, Suite 600                 )
Portland, Oregon 97204                          )
                                                )
and                                             )
                                                )
COLLEEN ANDERSON,                               )
in her official capacity as Special Agent for )
the Internal Revenue Service,                   )
960 Ellendale, Suite A                          )
Medford, Oregon 97504                           )
                                                )
                        Respondents.            )
Case 6:05-cr-60008-AA      Document 255-7           Filed 02/01/10        Page 3 of 29




           UNITED STATES ATIORNEYS OFFICE
           District of Oregon

            PRESS ROOM


           08/15/2007


              Former Ashland, Oregon Resident Previously Charged with
            Conspiracy to Defraud the United States and Filing a False Tax
            Return on Behalf of AI-Haramain Islamic Foundation Appears in
                                    Federal Court


           Portland, Ore. - Pirouz Sedaghaty, aka Pete Seda, age 49, a former
           resident of Ashland, Oregon, was arrested today at the Portland
           International Airport by agents of the Federal Bureau of Investigation,
           the Intemal Revenue Service-Criminal Investigation Division, and
           Immigration and Customs Enforcement. Karin J. Immergut, United
           States Attorney said the arrest occurred after Sedaghaty arrived in
           Portland on a flight from Frankfurt, Germany.

           Sedaghaty has been preViously charged by a federal grand jUry sitting
           in Eugene, Oregon with conspiracy to defraud the United States and
           filing a false tax return on behalf of the AI-Haramain Islamic
           Foundation. Conspiracy to defraud the United States carries a
           maximum punishment of five years and a $250,000 fine. Filing a false
           tax return carries a maximum punishment of three years and a
           $250,000 fine. In September 2004, the United States Treasury
           Department's Office of Foreign Assets Control placed AI-Haramain
           Islamic Foundation on the list of "Specially Designated Global
           Terrorists" pursuant to United States law.

           Sedaghaty has been transported by federal agents to the federal
           courthouse in Eugene, Oregon, where he is scheduled to be arraigned
           before United States Magistrate JUdge Thomas Coffin later today.

           An indictment is only an accusation of a crime.
           be resumed innocent unless and until roven




                                                                                         1 of 1
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                     Petitioner,                )
                                                )
                     v.                         )
                                                )
ERIC H. HOLDER, JR.,                            )
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KENT S. ROBINSON,                               )
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Portland, Oregon 97204                          )
                                                )
and                                             )
                                                )
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960 Ellendale, Suite A                          )
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                                                )
                        Respondents.            )
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Attorneys for Defendant




                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA,                 CR 05-60008

                              Plaintiff,   MEMORANDUM IN SUPPORT OF
                                           MOTIONS TO SUPPRESS EVIDENCE
                  v.                       SEIZED PURSUANT TO SEARCH
                                           WARRANT AND PURPORTED
 PIROUZ SEDAGHATY,                         CONSENTS, AND TO COMPEL
                                           GOVERNMENT TO CEASE ALL
                            Defendant.     SEARCHES OF COMPUTERS AND
                                           ELECTRONIC MEDIA SEIZED ON
                                           FEBRUARY 18, 2004
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III.   THE EVIDENCE OBTAINED PURSUANT TO THE SEARCH SHOULD BE
       SUPPRESSED BECAUSE THE WARRANT AFFIDAVIT WHOLLY LACKED
       PROBABLE CAUSE AND WAS INFECTED BY MATERIAL MISSTATEMENTS
       OF FACT AND/OR RECKLESS MATERIAL OMISSIONS

       A.   Under The Fourth Amendment A Warrant May Be Issued Only Upon
            Probable Cause




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            PURSUANT TO SEARCH WARRANT AND PURPORTED CONSENTS, AND TO
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       The Fourth Amendment authorizes the issuance of search warrants only upon a

showing of probable cause. Probable cause exists "where the known facts and

circumstances are sufficient to warrant a man of reasonable prudence in the belief that

contraband or evidence of a crime will be found." Ornelas v. United States, 517 U.S.

690, 696 (1996).

       For the magistrate to be able to perform his constitutionally-mandated function

properly, the affidavit presented must contain adequate supporting facts about the

underlying circumstances to show that probable cause exists for the issuance of the

warrant. Whitely v. Warden, 401 U.S. 560, 564 (1971); Nathanson v. United States,

290 U.S. 41, 47 (1933) (same). The question is whether, in viewing the totality of the

circumstances, the judicial officer who issued the warrant had a substantial basis for

finding a fair probability that contraband or other evidence of a crime would be found in

the place searched. Illinois v. Gates, 462 U.S. 213, 238 (1983). The warrant must also

describe the things to be seized with sufficient particularity and be "no broader than the

probable cause on which it is based." United States v. Weber, 923 F.2d 1338, 1342

(9th Cir. 1991). A court reviewing the issuance of a warrant is "limited to the information

and circumstances contained within the four corners of the underlying affidavit." United

States v. Bertrand, 926 F.2d 838, 841 (9th Cir. 1991) (citation omitted). From whatever

source, however, the information presented must be sufficient to allow the issuing

magistrate to determine probable cause independently; the magistrate's action "cannot

be a mere ratification of the bare conclusions of others." Gates, 462 U.S. at 239.


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       B.     Searches Conducted Pursuant To Warrants Are Generally Upheld
              Under The Good Faith Exception To The Exclusionary Rule Unless
              The Warrant Was Wholly Lacking In Probable Cause Or Obtained By
              An Affidavit Riddled by Reckless Or Intentional Material Omissions
              Or Misstatements

       In United States v. Leon, 468 U.S. 897 (1984), the court announced the "good

faith" exception to the exclusionary rule. Under Leon, officers executing a search based

on a warrant are presumed to act in good faith unless the showing of probable cause in

the affidavit offered in support of a warrant is so weak that reliance on it is objectively

unreasonable. Leon, 468 U.S. at 926.

       Evidence obtained pursuant to a search warrant later found invalid can only be

admitted if the officers executing the warrant acted in good faith and in reasonable

reliance on the warrant. Leon, 468 U.S. at 913. Leon articulated two exceptions to the

good faith rule applicable here. First, an officer cannot in good faith rely on a warrant

supported by an affidavit "so lacking in indicia of probable cause as to render official

belief in its existence entirely unreasonable." Id. at 923 (citations omitted).

       Second, the good faith exception does not apply if the issuing magistrate "was

misled by information in an affidavit that the affiant knew was false or would have

known was false except for his reckless disregard of the truth." United States v. Leon,

468 U.S. at 923. When law enforcement officers have intentionally, or with reckless

disregard for the truth, omitted or misrepresented material information which negates a

finding of probable cause, then "the search warrant must be voided and the fruits of the




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search excluded to the same extent as if probable cause was lacking." Franks, 438

U.S. at 156; United States v. Dozier, 844 F.2d 701, 705 (9th Cir. 1988).

       A defendant is entitled to an evidentiary hearing to challenge the validity of a

search warrant if he makes a substantial preliminary showing that the affidavit contains

intentionally or recklessly-made false statements and, when the affidavit is purged of its

falsities, would not be sufficient to support a finding of probable cause. Franks v.

Delaware, 438 U.S. 154, 171-72 (1978). Similarly, a defendant is entitled to an

evidentiary hearing to challenge the validity of a search warrant if the search warrant is

marred by deliberate or reckless omissions of fact which undermine a facial showing of

probable cause. United States V. Stanert, 762 F.2d 775, 781 (9th CiL), amended by

769 F.2d 1410 (9th Cir. 1985). See also United States v. Martinez-Garcia, 397 F.3d

1205, 1214 (9th Cir. 2005) (both false statements and omissions may serve as the

basis for a Franks hearing).

       Clear proof of deliberate or reckless misrepresentations or omissions is not

required. Stanert, 762 F.2d at 781. All the defendant must do is make a substantial

preliminary showing that the affiant intentionally or recklessly misrepresented facts or

"omitted facts required to prevent technically true statements in the affidavit from being

misleading." Id. See also United States v. Jacobs, 986 F.2d 1231, 1235 (8th Gir. 1993)

(finding an omission to be reckless when "[a]ny reasonable person would have known

that this was the kind of thing the judge would wish to kno~). When a search warrant

affidavit contains material omissions, as well as false statements, the court should


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delete the false or misleading statements and insert the omitted truths and then

examine the "reformed" affidavit to see whether it still establishes probable cause.

United States v. DeLeon, 979 F.2d 761,764 (9th Cir. 1992).

       C.    The Search Warrant Was Wholly lacking in Probable Cause

       The affidavit describes a mistake on the tax return. In order to elevate that

mistake to criminal conduct that could support issuance of a warrant, the government

was required to establish probable cause to believe that this mistake was made by Mr.

Sedaghaty or one of the other principals of AI Haramain USA, rather than Accountant

Wilcox. In addition, the government was required to show probable cause that the

mistake was not benign, but one made with a criminal purpose. Ornelas, 517 U.S. at

696. The purpose offered by the affiant in the warrant was the desire to fund Chechen

mujahideen. However, the core of what was offered is set out in paragraphs 22-28 of

the search warrant affidavit. Those paragraphs fail to provide probable cause of a

criminal purpose. The only alleged direct link between AI Haramain USA and funding

Chechen mujahideen is derived from newspaper accounts (paragraphs 23, 24, 26, 27).

We have found no cases in which a court has upheld a warrant on newspaper

accounts. Indeed, newspaper accounts are notoriously unreliable. See Jane Doe I-V v.

Texaco, No. C06-02820 WHA, 2006 WL 2850035 *3 (N.D. Cal. 2006). Cf. Larez v. Los

Angeles, 946 F.2d 630, 642-43 (9th Cir. 1991).

       D.    The Warrant Issued In This Case Was Infected By Material
             Misstatements And Omissions Which, When Corrected, Becomes
             Invalid


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       The affidavit submitted in support of the search warrant is replete with material

misstatements and omissions. The affidavit, taken in its entirety, skewed the

information and created an overall false impression regarding the relationship of AI

Haramain Saudi Arabia and AI Haramain USA, the significance of the role that

Accountant Wilcox played as the accountant of AI Haramain USA, the extent of the

surveillance and investigation of AI Haramain USA, and the history of the

Chechen/Russian conflict. The misstatements and omissions include: 1. the unlawful

and warrantless surveillance; 2. The investigation commenced in 2001; 3. The publicly

available information about Mr. Sedaghaty from the 1990s forward; 4. Mr. Sedaghaty's

contacts with the government from 2001-2003; 5. Mr. Sedaghaty's communications with

the government regarding refugees from 2001-2003; 6. Mr. Sedaghaty's relationship

with Accountant Wilcox; and 7. Information provided to the government by Accountant

Wilcox. The remainder of this section details the material misstatements and omissions

and why an affidavit that had not been riddled with such statements would not have

provided probable cause.

       The material omissions and misstatements in the affidavit are summarized as

follows:

       • Paragraphs 11 & 16 - The government provided the court with a general

description of how funds were brought into the United States in order to purchase two

different pieces of property, including the fact that Soliman AI-Buthe brought the money

into the country via travelers checks. The government failed to inform the court that



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travelers checks are used in the normal course of business. By omitting this piece of

information, the affiant led the court to believe that there is significance in the use of

travelers checks, when really, there is no significance at all. Had the court been aware

that the use of travelers checks by a foreigner in various foreign financial transactions is

not significant, that would have negated any probable cause surrounding the use of

travelers checks as asserted in Paragraphs 30, 31,45, and 47.

       • Paragraph 18 - The affiant provided an inaccurate and truncated version of

the government's use of the grand jury in its investigation of AI Haramain USA. First,

the affiant continued to allow the court to presume that AHIF and AI Haramain USA are

one and the same organization, which they are not. Second, the affiant explained to

the court that in June 2003 a grand jury subpoena was served on AHIF. However, she

omitted the fact that the government received grand jury subpoenas in 2001, targeting

Pete Seda, as well as AI Haramain USA. It is without dispute that the investigation of

Pete Seda and AI Haramain USA began many years prior to the June 2003 subpoena.

However, this information was left out of the affidavit. Had the court been aware of the

extent of the government's investigation, it would have been cautioned by how little

inculpatory information the government provided at the time the affidavit was presented

to the magistrate judge.

       • Paragraphs 22 - 24 - The government provided a one-sided view of the history

and evolution of the Chechen/Russian conflict focusing on the purported threat of the

Chechen mujahideen to Russia in the 1990s. The affiant relied on a non-governmental



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international terrorism consultant. She failed to inform the court who this person is or

what their qualifications are to provide such information. The affiant also reported that

a news article stated that AHIF (Riyadh), had provided support to the Chechens. The

government failed to include in the affidavit the fact that the United States was also

supporting the Chechens during this time. In fact, the Chechen mujahideen, prior to

September 11, 2001, were not seen as engaging in violent terrorism, but were viewed

as freedom fighters in a war of liberation. As recently as 2007, now Vice-President

Joseph Biden stated that the war in Chechnya is a war of liberation.

http://www.politico.com/news/stories/0507/3850.html. The affiant failed to inform the

court of the humanitarian crisis that existed in Chechnya during this time. Even Senator

John McCain criticized the Clinton administration for its support of Russia in the war

against Chechnya. See Eric Schmitt, McCain Urges Ending Aid To Russia In Wake Of

Chechen Policy, N.V. Times, Dec. 2, 1999; available at:

www.nytimes.com/1999/12102lus/mccain-urges-ending-aid-to-russia-in-wake-of-

chechen-policy.html. This one-sided, unsubstantiated view of the Chechen crisis,

coupled with an inaccurate shared description of AI Haramain, Riyadh and AI Haramain

USA, when corrected and more fUlly explained negated probable cause in this instance.

      • Paragraph 47 - Affiant Anderson asserted that "since it appears that SEDA

and AlBUTHE have attempted to conceal the movement of funds to Chechnya, as

more fully described below, there may be other similar transactions conducted which

we have not yet detected." This supposition is completely unsupported and should


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have been stricken from the affidavit. Without this groundless assertion, any probable

cause asserted by the government is eliminated and would not have been found by the

magistrate.

       • Paragraph 55 - Affiant Anderson reported what Accountant Wilcox recalled of

his initial meetings with Mr. Sedaghaty, and that Mr. Sedaghaty specifically told him that

he needed the books to be right and clean. This paragraph, or any other paragraph,

failed to mention that Accountant Wilcox also told the government that he (Wilcox)

never thought that Mr. Sedaghaty was intentionally dishonest in his record keeping. See

GOV 11-12. Because Mr. Sedaghaty's financial honesty is one of the primary issues in

this case, it is particularly important that Mr. Sedaghaty's own accountant, and one of

the government's key witnesses throughout its investigation, believed in Mr.

Sedaghaty's honesty as to his financial records. This information, had it been known by

the court. would have undermined the core of the affiant's assertions and suppositions

peppered throughout the affidavit. The court would have been unable to find probable

cause to allow a search of the residence.

      • Paragraph 60 - Affiant Anderson reported that Accountant Wilcox received the

Quickbooks Springfield building schedule that he used to prepare the organizations

2000 Form 990 for the Internal Revenue Service from Mr. Sedaghaty. Affiant Anderson

failed to explain that Accountant Wilcox was more than a mere tax preparer for AI

Haramain USA. He provided more expansive services to AI Haramain USA, which

were addressed in an engagement letter between himself and AI Haramain USA. See



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GOV 466. Affiant Anderson failed to credit Accountant Wilcox with his past experience

as an agent for the IRS. Affiant Anderson also omitted how Accountant Wilcox

received information regarding the Springfield house, whether it was verbal or written.

Had the court been aware that Wilcox failed to perform basic duties of an accountant

when preparing the tax return, and also that he had had experience in the past as an

IRS agent, the court would have been less likely to believe the government's assertion

of the questionable nature of the accounting of the purchase of the Springfield property.

With this information, the government's assertions do not give rise to probable cause .

       • Paragraph 66 - The government asserts that there did not appear to be any

business or religious activities at 3800 S. Highway 99 and that Mr. Sedaghaty's son,

Jonah, appeared to be living there. The affiant failed to inform the court of how she

was able to confirm that. If there was surveillance of the property, the court should

have been informed of the method and manner of such surveillance. Had that been

discussed, the court would then have known that with the vast surveillance being

conducted at the time, the lack of inCUlpatory information would negate the probable

cause asserted by the government.

       • Paragraph 70 -71 - In order to explain to the court that evidence of the nature

described in the affidavit would be present at 3800 S. Highway 99, the affiant described

a meeting between Mr. Sedaghaty and FBI Special Agent Dave Carroll on September

15,2001. This meeting included a tour of the upper floor of 3800 S. Highway 99.

Special Agent Carroll was shown a room above a garage which contained a computer



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and several boxes of pamphlets and other materials. First, this information was stale

and should have been stricken from the affidavit. Second, the affiant failed to inform

the court that Mr. Sedaghaty voluntarily met with Agent Carroll on several occasions

including September 15, 2001. It was during the meeting on the 15th , that Mr.

Sedaghaty discussed with Agent Carroll the amount of money that AI Haramain, Riyadh

provided to purchase the Springfield property. This was just a short time before Mr.

Sedaghaty signed the tax return that involved the purchase of the Springfield property

that is at issue in this case. Had the court been more fully informed of Mr. Sedaghaty's

transparency and cooperation with the FBI, the probable cause to justify a search of a

residence would have been negated.

       The search warrant affidavit also omitted the following:

       • Mr. Sedaghaty, throughout his lifetime, has endeavored to help those in need;

in his own community, in various parts of the United States, and internationally. These

include numerous contacts with the United States government, as well as governments

of other countries, in an effort to deliver humanitarian aid to refugees in places like

Chechnia, Afghanistan, and Israel/Palestine. Many of these efforts have been

documented and known by the government, yet information regarding Mr. Sedaghaty's

efforts was kept from the court when it was reviewing the affidavit. See, e.g., GOV 120;

GOV 290; GOV 523; GOV 527-29; GOV 2187-89; GOV 2190. This information is

directly related to and contradictory to what the government asserted in its affidavit.




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This information, had it been known by the court, would have negated the finding of

probable cause.

       • Mr. Sedaghaty requested that FBI Agent Dave Carroll obtain an e-mail account

so that he (Sedaghaty) would be able to communicate with Agent Carroll while he was

overseas. Agent Carroll, in an e-mail to Mr. Sedaghaty confirmed that he had done so.

FPDUS 0024256.

       The omissions and misstatements described herein, had they been known by

the issuing court, would have prevented the court from finding probable cause.

Unfortunately, this information is incomplete because the government has not provided

the defense with the information available to it that was collected through the

surveillance of AI Haramain and its officers. It is expected that the information collected

during that time would include information regarding Mr. Sedaghaty that would have

further negated any probable cause asserted in the search warrant affidavit.

       Upon review of the affidavit, with the omissions included and the mis-statements

corrected, the affidavit would have shown that AI Haramain USA was not the same as

AI Haramain, Saudi Arabia, and that the person in charge of the local organization, Mr.

Sedaghaty, had, throughout his life, sought out peaceful methods to provide help to

those in need. The magistrate judge would have been aware that Mr. Sedaghaty was

cooperative with the Federal Bureau of Investigation, particularly after 9/11, and that he

abhorred terrorist activities. The affidavit would have provided the magistrate judge

with a more thorough recitation of the Chechen crisis and the desire to help the



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refugees in that area would not have been portrayed as a questionable desire on the

part of Mr. Sedaghaty, AI Haramain USA and AI Haramain Saudi.

       The affidavit would also have alerted the magistrate judge to the fact that

although an extensive investigation of AI Haramain USA had been going on, at that

time, for at least two and a half years, involving multiple agencies of the United States

government and lawful and unlawful surveillance, only a very few details surrounding a

donation and an out of state real estate purchase had attracted the government's

attention.

       The magistrate jUdge would have known that Accountant Wilcox was intimately

involved in the bookkeeping of AI Haramain USA and was just as likely to have created

the errors alleged in the affidavit as anyone associated with AI Haramain USA. This

information would not have provided probable cause for a search of 3800 S. Highway

99 and any evidence recovered pursuant to the search warrant, or by consent, as

discussed below, should be suppressed.

IV.    THE GOVERNMENT MUST PROVE THAT THE CONSENTS TO SEARCH AND
       SEIZE WERE VOLUNTARY AND NOT THE PRODUCT OF AN UNLAWFUL
       WARRANT

       A.    The Government Bears The Burden Of Establishing Consent

       The right of a citizen to be free in his own home from unreasonable government

intrusion stands at the very core of the Fourth Amendment. Groh v. Ramirez, 540 U.S.

551,559 (2004) (citing Kyllo v. United States, 533 U.S. 27, 31 (2001». Generally, the

Supreme Court disapproves of searches and seizures not authorized by a judge,


Page 34·     MEMORANDUM IN SUPPORT OF MOTIONS TO SUPPRESS EVIDENCE SEIZED
             PURSUANT TO SEARCH WARRANT AND PURPORTED CONSENTS, AND TO
             COMPEL GOVERNMENT TO CEASE ALL SEARCHES OF COMPUTERS AND
             ELECTRONIC MEDIA SEIZED ON34:BRUARY 18,2004
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                     Petitioner,                )
                                                )
                     v.                         )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
                                                ) Misc. Action No.
TIMOTHY F. GEITHNER,                            )
in his official capacity as Secretary of the    )
Treasury,                                       ) EXHIBIT G TO DECLARATION OF
1500 Pennsylvania Avenue, NW                    ) TIMOTHY J. COLEMAN
Washington, DC 20220                            )
                                                )
KENT S. ROBINSON,                               )
in his official capacity as Acting United       )
States Attorney for the District of Oregon, )
1000 SW Third Avenue, Suite 600                 )
Portland, Oregon 97204                          )
                                                )
and                                             )
                                                )
COLLEEN ANDERSON,                               )
in her official capacity as Special Agent for )
the Internal Revenue Service,                   )
960 Ellendale, Suite A                          )
Medford, Oregon 97504                           )
                                                )
                        Respondents.            )
       Case 6:05-cr-60008-AA            Document 255-7           Filed 02/01/10       Page 20 of 29



                      United States Department of Justice
                        United States Attorney's Office
                           for the District of Oregon

                               ADMINISTRATIVE SUBPOENA

          To: AI Rajhi Banking and Investment; AI-Rajhi Bank.
              C/O King & Spalding
              Attn: Isam Salah, Partner
              1185 Avenue of Americas
              New York, New York
              Telephone: (217) 556-2140



        By service of this subpoena upon you, you are hereby commanded and required to appear before the
Internal Revenue Service Criminal Investigation Division and to bring with you and produce for
examination the following books, records and papers at the time and place set forth below.

REQUIRED DOCUMENTS

       Authenticated copies of certified bank. records, belonging to Soliman AI-But'he from the AI
Rajhi Bank, in Riyadh, Saudi Arabia. The records should cover the time period between February!,
2000 through April 30, 2000, and should include the following documents:

   Account records for account number 140608010109206 for the time period of February, March, and

   April of2000, to include:

   (1) Copies of signature cards and customer applications;

   (2) Copies of bank statements, ledger cards, or records reflecting dates and amounts of deposits and
   withdrawals;

   (3) Copies of debit and credit memos;

   (4) Copies ofdeposit slips and checks deposited (including the backs of the checks);

   (5) Copies of withdrawal slips and teller records showing the withdrawal of currency, including
   records reflecting the type of currency received (U.S. dollars or Saudi Riyals);

   (6) Copies of checks issued for withdrawals (including the backs of the checks);

   (7) Copies ofal! records reflecting the cashing of traveler's checks, including teller records, receipts
   indicating the number of cashier's checks cashed, the denominations of the cashier's checks cashed,
   and the type of currency received (U.S. dollars or Saudi Riyals);
       Case 6:05-cr-60008-AA           Document 255-7          Filed 02/01/10       Page 21 of 29



   (8) Records reflecting the customer exchange rate of U.S. dollars to Saudi Riyals on March 13,
   2000, March 14,2000, March 27, 2000, and March 28, 2000;

   (9) Records pertaining to the cashing of 130 $1,000 American Express Traveler's checks by
   Soliman AI-But'he in March of 2000 at AI Rajhi Bank, to include the date and time ofthe
   transaction, the amount of the transaction, and type of currency received by AI-But'he (U.S. dollars
   or Saudi Riyals). (A copy of one of the traveler's checks is attached for review); and

   (10) Records pertaining to the deposit and any subsequent disposition of a Bank of America
   cashier's check, check number 1001040568, issued to Soliman AI-But'he on March 11,2000,
   for $21,000. (A copy of the cashiers check is attached for review.)


PLACE AND TIME OF APPEARANCE

Internal Revenue Service
Criminal Investigation Division
960 Ellendale, Suite A
Medford, Oregon 97504

August 28, 2009; 10:00 a.m.




                                                                       a
Issued under authority of 31 United States code, Section 5318(k)(3), by duly authorized delegate
of the Attorney General.




                                                   %vt:.L1f~
                                                Kent S. Robinson
                                                Acting United States Attorney
                                                U.S. Attorney's Office for the District of Oregon
                                                U.S. Department of Justice




Name, address and phone number of government attorney and investigating agent:

Charles F. Gorder, Jr.,                             Special Agent Colleen Anderson
Assistant United States Attorney                    Internal Revenue Service cm
1000 SW Third Ave., Suite 600                       960 Ellendale, Suite A
Portland, OR 97204                                  Medford, Oregon 97504
(503) 727-1021                                      (541) 282·1341
Case 6:05-cr-60008-AA   Document 255-7   Filed 02/01/10   Page 22 of 29
Case 6:05-cr-60008-AA        Document 255-7   Filed 02/01/10                  Page 23 of 29



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  Case 6:05-cr-60008-AA   Document 255-7   Filed 02/01/10   Page 24 of 29




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
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Olaya Road, Riyadh                              )
Saudi Arabia                                    )
                     Petitioner,                )
                                                )
                     v.                         )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )
Washington, DC 20530-0001                       )
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Medford, Oregon 97504                           )
                                                )
                        Respondents.            )
Case 6:05-cr-60008-AA           Document 255-7             Filed 02/01/10   Page 25 of 29

      Case 3:04-cr-00240-P        Document 656         Filed 05/29/2007     Page 1 of 63




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA          §
                                  §
VS.                               §                 CR NO. 3:04-CR-240-G
                                  §
HOLY LAND FOUNDATION              §
FOR RELIEF AND DEVELOPMENT, §
     also known as the "HLF" (01) §
SHUKRI ABU BAKER, (02)            §                          ECF
MOHAMMED EL-MEZAIN, (03)          §
GHASSAN ELASHI, (04)              §
HAITHAM MAGHAWRI, (05)            §
AKRAM MISHAL, (06)                §
MUFID ABDULQADER, (07) and        §
ABDULRAHMAN ODEH (08)             §



                            GOVERNMENT'S TRIAL BRIEF

       The United States submits this trial brief in support of the evidence and arguments

relied upon in its case-in-chief. The purpose of this submission is to provide the Court

with an overview of the case, the scope of the conspiracy, and the different kinds of

evidence that the government will seek to admit at trial and the evidentiary bases for the

admission of that evidence. The government is not detailing all of the evidence that it

will present in its case-in-chief nor all of the evidence showing the existence of the

alleged conspiracy and the statements made in furtherance of the conspiracy. Instead, this

trial brief will outline the law with respect to types of evidence the government will be

seeking to admit and provide background to the Court for evaluating their admissibility.



GOVERNMENT'S TRIAL BRIEF (U.S. v. HLF, et III) - Pllge I
 Case 6:05-cr-60008-AA              Document 255-7           Filed 02/01/10         Page 26 of 29

      Case 3:04-cr-0024D-P          Document 656          Filed OS/29/2007        Page 41 of 63




government's summary of the case. The American Express records will also prove travel

payments made by the HLF on behalf of "overseas speakers" - Hamas members and other

radical speakers who were brought to the United States to raise funds for the HLF.

                       2.      Foreign Bank Records Without a Live Witness

       The government will offer into evidence records from up to seventy-two bank

accounts from twelve banks, spanning seven different countries.

       The records were obtained from the foreign banks through either: a Mutual Legal

Assistance Treaty request; a Bank of Nova Scotia grand jury subpoena; an administrative

subpoena issued pursuant to 31 U.S.C. § 5318(k)(3) (commonly referred to as a Patriot Act

subpoena)2; and a request and voluntary compliance by the bank.

       18 U.S.C. § 3505(a)(I) provides that, in a criminal proceeding, a foreign record of

regularly conducted activity shall not be excluded as evidence by the hearsay rule if a

certification is attached which comports to the requirements of the business records



        2 A Bank of Nova Scotia grand jury subpoena is issued to a foreign bank that has a branch in the
United States. In re Grand Jury Proceedings the Bank ofNova Scotia, 740 F.2d 817 (11 1h Cir. 1984).
The subpoena is served upon the branch or a bank representative and requires the bank to obtain records
from other bank branches located outside the United States. A Patriot Act subpoena is not a grand jury
subpoena but is an administrative subpoena authorized by the Attorney General or the Secretary of the
Treasury. It is designed to be used in situations where the foreign bank does not have a branch in the
United States but instead has a correspondent account. Correspondent accounts are bank accounts held
under the foreign bank's name at a United States bank that allow the foreign bank to avail itself of the
United States banking system. As with a Bank of Nova Scotia subpoena, the Patriot Act subpoena
requires the bank to obtain the records from whichever bank branch worldwide possesses them.
        Bank of Nova Scotia and Patriot Act subpoenas are generaJIy used in situations where the United
States does not have a treaty with the country, where the bank branch possessing the needed records is
located abroad, or where the government has exhausted all other avenues to obtain the records from that
country. In this case, the government used these tools (or the possibility of these tools) to obtain bank
records from the West Bank, Gaza and Lebanon.

GOVERNMENT'S TRIAL BRIEF (U.S. v. HLF, et al) - Page 41
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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


Al-RAJHI BANKING & INVESTMENT                   )
CORPORATION,                                    )
Al-Aqaria Building 3                            )
Olaya Road, Riyadh                              )
Saudi Arabia                                    )
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                       Petitioner,              )
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                 v.                             )
                                                )
ERIC H. HOLDER, JR.,                            )
in his official capacity as Attorney General of )
the United States,                              )
950 Pennsylvania Avenue, NW, Room B-103 )          Misc. Action No.
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in his official capacity as Secretary of the    ) CERTIFICATE OF SERVICE
Treasury,                                       )
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Washington, DC 20220                            )
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                                                )
                         Respondents.           )
  Case 6:05-cr-60008-AA       Document 255-7         Filed 02/01/10   Page 28 of 29



                                         l1~ay
I, Boaz Green, hereby certify that on this        of January, 2010, I caused copies of
Petitioner's Motion to Quash USA PATRIOT Act Subpoena, Memorandum of Points and
Authorities in Support of Motion to Quash USA PATRIOT Act Subpoena, Proposed
Order, Certificate Required by LCvR 7.1, Declaration of Timothy 1. Coleman with
Exhibits A through H, and Declaration of Khalid A. AI-Thebity with Exhibits A through
G to be served via certified mail on the following parties:

              Eric H. Holder, Jr.
              Attorney General of the United States
              United States Department of Justice
              950 Pennsylvania Avenue, NW, Room B-103
              Washington, DC 20530-0001

              Civil Process Clerk
              Office of the United States Attorney
              for the District of Columbia
              555 Fourth Street, N.W.
              Washington, D.C. 20001

              Timothy F. Geithner
              Secretary
              Department of the Treasury
              1500 Pennsylvania Avenue, NW
              Washington, DC 20220

              Kent S. Robinson
              Acting United States Attorney
              for the District of Oregon
              1000 SW Third Avenue, Suite 600
              Portland, Oregon 97204

              Colleen Anderson
              Special Agent
              Internal Revenue Service
              960 Ellendale, Suite A
              Medford, Oregon 97504
   Case 6:05-cr-60008-AA           Document 255-7   Filed 02/01/10   Page 29 of 29



Dated: \   (jY\. \   OJ I (Jf)"O                Respectfully submitted,




                                                ATTORNEYS FOR PETITIONER
